                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 VERNA STEVERSON and
 DAVIS STEVERSON,
                                                    Case No. 3:19-cv-00140
         Plaintiffs,
                                                    Chief Judge Waverly D. Crenshaw, Jr.
 v.                                                 Magistrate Judge Alistair E. Newbern

 WALMART, et al.,

         Defendants.


                                              ORDER

        Plaintiffs Verna Steverson and Davis Steverson ask the Court for an additional thirty days

to secure counsel and respond to the pending motions to dismiss their action. (Doc. No. 36.)

Plaintiffs were previously granted an extension of time until May 27, 2019, to respond to the

pending motions. (Doc. No. 35.) In light of Plaintiffs’ pro se status and asserted health-related

concerns, the Court GRANTS the motion for an extension of time. Plaintiffs shall respond to the

motions to dismiss by no later than July 1, 2019. The Court will not grant any further extension

absent a showing of compelling cause.

        Plaintiffs are again warned that failure to respond in opposition to the motions to dismiss

may result in a recommendation that the motions be granted as unopposed or that this case be

dismissed for Plaintiffs’ failure to prosecute their claims.

        It is so ORDERED.



                                                       ____________________________________
                                                       ALISTAIR E. NEWBERN
                                                       United States Magistrate Judge




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